                             Case 3:17-cv-00364-JBA Document 146 Filed 05/01/19 Page 1 of 1
                                                                                                                    Civil- (Dec-2008)
                                                                 HONORABLE: Janet Bond Arterton, U.S.D.J.
                                     DEPUTY      CLERK Breigh Freberg     RPTR/ECRO/TAPE Tracy Gow
         TOTAL TIME:         1        hours 50 minutes
                                        DATE: 5/1/2019         START TIME: 10:09am               END TIME: 11:59am
                                                            LUNCH RECESS       FROM:                    TO:
                                                    RECESS (if more than ½ hr) FROM:                    TO:

         CIVIL NO. 17CV364 (JBA)


                     John Doe                                                         Felice Duffy, Douglas Varga
                                                                                             Plaintiff’s Counsel
                                        vs
                     Quinnipiac University                                            Matthew Conway, Lynn McCormick
                                                                                             Defendant’s Counsel

                                                    COURTROOM MINUTES- CIVIL

                            ✔ Motion hearing            O/A           Show Cause Hearing
                                 Evidentiary Hearing                  Judgment Debtor Exam
                                 Miscellaneous Hearing

         ✔ .....#81         Motion for Summary Judgment                                  granted      denied ✔ advisement
            .....#          Motion                                                       granted      denied        advisement
            .....#          Motion                                                       granted      denied        advisement
            .....#          Motion                                                       granted      denied        advisement
            .....#          Motion                                                       granted      denied        advisement
            .....#          Motion                                                       granted      denied        advisement
            .....#          Motion                                                       granted      denied        advisement
            .....           Oral Motion                                                  granted      denied        advisement
            .....           Oral Motion                                                  granted      denied        advisement
            .....           Oral Motion                                                  granted      denied        advisement
           .....            Oral Motion                                                  granted      denied        advisement
            .....                Briefs(s) due                Proposed Findings due                Response due
           .............                                                                                   filed    docketed
           .............                                                                                   filed    docketed
           .............                                                                                   filed    docketed
           .............                                                                                   filed     docketed
            .............                                                                                  filed    docketed
            .............                                                                                  filed    docketed
            ............                            Hearing continued until                           at

Notes:
